Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 1 of 22                 PageID #: 78




                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  CHRIS SLAVICK, #A0765881,       )               CIV. NO. 1:18-cv-00290-DKW-KJM
                                  )
            Plaintiff,            )               ORDER DISMISSING FIRST
                                  )               AMENDED COMPLAINT
       vs.                        )               WITHOUT LEAVE TO AMEND
                                  )
  SHAWN COLOTARIO, et al.,        )
                                  )
            Defendants.           )
  _______________________________ )

         Before the court is pro se Plaintiff Chris Slavick’s First Amended Complaint

  (FAC) brought pursuant to 42 U.S.C. § 1983. ECF No. 7. Slavick alleges that

  Halawa Correctional Facility (HCF) and Oahu Community Correctional Center

  (OCCC) staff violated his state and federal rights in May and June 2018.1

         For the following reasons, the FAC is DISMISSED pursuant to 28 U.S.C.

  § 1915(e) and 1915A(a), for failure to state any colorable claim for relief. Slavick

  is granted leave to amend as specifically limited below.




         1
         Slavick names HCF officers Warden Scott Harrington; Sergeant Shawn Colotario;
  Sergeant Richard Lopez; Captain Dallen Paleka; Program Administrator Gary Kaplan; Sergeant
  Adam Lorico, Jr.; Captain R. Aguon; Unit Manager An Uedoi; Officer Keone Limahai; and
  OCCC Officer Murray as Defendants in their official and individual capacities.
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 2 of 22                PageID #: 79




                             I. STATUTORY SCREENING

        The court is required to conduct a pre-Answer screening of all prisoners’

  pleadings pursuant to 28 U.S.C. §§ 1915(e)(2) and 1915A(a). The court must

  dismiss a claim or complaint that is frivolous, malicious, fails to state a claim for

  relief, or seeks damages from defendants who are immune from suit. See Lopez v.

  Smith, 203 F.3d 1122, 1126-27 (9th Cir. 2000) (en banc); Rhodes v. Robinson, 621

  F.3d 1002, 1004 (9th Cir. 2010).

        Screening under §§ 1915(e)(2) and 1915A(b) involves the same standard of

  review as that used under Federal Rule of Civil Procedure 12(b)(6). Watison v.

  Carter, 668 F.3d 1108, 1112 (9th Cir. 2012) (screening under § 1915(e)(2)); see

  also Wilhelm v. Rotman, 680 F.3d 1113, 1121 (9th Cir. 2012) (screening under

  § 1915A). Under Rule 12(b)(6), a complaint must “contain sufficient factual

  matter, accepted as true, to state a claim to relief that is plausible on its face.”

  Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation marks omitted).

  “Threadbare recitals of the elements of a cause of action, supported by mere

  conclusory statements, do not suffice.” Id. The “mere possibility of misconduct”

  or an “unadorned, the defendant-unlawfully-harmed me accusation” falls short of

  meeting this plausibility standard. Id. at 678-79; see also Moss v. U.S. Secret

  Serv., 572 F.3d 962, 969 (9th Cir. 2009).


                                              2
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 3 of 22                     PageID #: 80




         Pro se litigants’ pleadings must be liberally construed and all doubts should

  be resolved in their favor. Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010)

  (citations omitted). The court must grant leave to amend if it appears the plaintiff

  can correct the defects in the complaint, Lopez, 203 F.3d at 1130, but if a claim or

  complaint cannot be saved by amendment, dismissal with prejudice is appropriate.

  Sylvia Landfield Tr. v. City of L.A., 729 F.3d 1189, 1196 (9th Cir. 2013).

                                     II. BACKGROUND2

         Without explanation, the FAC omits Count I and begins at Count II. See

  FAC, ECF No. 7, PageID #67. In Count II, Slavick alleges that Defendants

  Colotario, Lopez, and Murray conspired to seize his “injury supports,” for

  unidentified medical injuries, causing him severe pain. Id. He claims that they

  then falsely charged him with “lying, obstruction, and escape” to justify placing

  him in solitary confinement, which allowed them to confiscate his legal materials

  and obstruct a “May 17, 2018, hearing on a critical motion.” Id., PageID #67.

  Slavick alleges, without any supporting facts, that Defendant Kaplan was also

  involved with these allegedly false charges. See id., PageID #69 (Count IV).




         2
          Although the FAC has less factual support than the original Complaint, Slavick’s facts
  are accepted as true. Nordstrom v. Ryan, 762 F.3d 903, 908 (9th Cir. 2014).

                                                 3
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 4 of 22             PageID #: 81




        In Count III, Slavick alleges Colotario, Lopez, and Murray fabricated the

  false charges to justify transferring him to solitary confinement, so that Defendants

  Harrington and Paleka could interfere with his legal property between May 10 and

  July 8, 2018. See id., PageID #68. Slavick alleges this obstructed the prosecution

  of his appeal in “CAAP-XX-XXXXXXX,” a state post-conviction petition.

        In Count IV, Slavick says that Kaplan failed to notify him that his attorney

  scheduled a visit with Slavick for June 4, 2018, the day before Slavick’s state court

  hearing, although his attorney never arrived on that date. Slavick alleges that

  Defendant Lorico threatened to take Slavick to the June 5, 2018 hearing without

  his cane, although it does not appear that Lorico followed through on this threat.

  Lorico then issued Slavick another allegedly false rules violation, which omitted

  Lorico’s alleged threat, but cited a “lack of 48 hour prior notice.” Id., PageID #69.

  Slavick alleges that Kaplan and Defendant Aguyon3 “aided and abetted” these

  “abuses,” and that Aguyon “actively executed the crimes.” Id.

        In Count V, Slavick alleges that Defendants Uedoi and Limahai tried to

  “coerce” him into attending a disciplinary hearing on June 8, 2018, for which he

  had not received notice. Id., PageID #71. Slavick held a sign to his cell window




        3
         Slavick randomly spells this Defendant’s name as Aguon and Aguyon.

                                              4
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 5 of 22                   PageID #: 82




  stating, “OBJECT TO YOU,” and refused to participate. Id. He alleges Limahai

  swore at him and Uedoi said that she would hold the hearing without him.4

        In Count VI, Slavick says Limahai and Defendant Souza stood outside his

  cell telling Slavick to “cuff up” and clicking handcuffs in a threatening manner.

  Id., PageID #72. When Slavick refused this order, Limahai allegedly told him that

  they would beat and rape him and tried to incite nearby inmates to harass him.5

        In Count VII, Slavick says that acting Sergeant Allen, who is not a

  Defendant, refused to accept Slavick’s police report on June 9, 2018. Id., PageID

  73. Later that morning, Lorico gave Slavick a trash bag and told him to “pack-up”

  for transfer to the High SHU (special housing unit). Id. Lorico took Slavick’s

  belongings, including his cane, and Aguyon summoned an armored assault team to

  assist in the transfer. Id. Captain Shook returned Slavick’s cane, however, and

  and the assault team was not required. Slavick complains that guards repacked his

  property into smaller bags and loaded them into the trunk of a car out of his sight.

  He says he was not permitted “full access” to his legal papers until he was released

  from the High SHU on July 8, 2018. Id.




        4
         Slavick states this claim is “continued on 6A” but provides no supplemental page 6A.
        5
         Slavick states this claim is “continued on 7A” but provides no supplemental page 7A.

                                                5
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 6 of 22              PageID #: 83




        Slavick broadly alleges that Defendants’ actions violated the Fifth, Eighth,

  and Fourteenth Amendments, the Americans with Disabilities Act (ADA), 42

  U.S.C. § 12132, et seq., and unidentified criminal statutes. Slavick seeks an order

  expunging his May 10 and June 5 disciplinary charges and damages.

                                   III. DISCUSSION

        To state a claim under 42 U.S.C. § 1983, a plaintiff must allege two essential

  elements: (1) that a right secured by the Constitution or laws of the United States

  was violated, and (2) that the alleged violation was committed by a person acting

  under the color of state law. See West v. Atkins, 487 U.S. 42, 48 (1988).

  Additionally, a plaintiff must allege that he suffered a specific injury as a result of

  a particular defendant’s conduct and an affirmative link between the injury and the

  violation of his rights. See Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 692

  (1978); Rizzo v. Goode, 423 U.S. 362, 371-72, 377 (1976).

  A.    Rule 8

        Slavick’s FAC is more confusing than the original Complaint, with fewer

  relevant facts from which the court can infer that any Defendant violated his rights.

  Slavick again alleges that Defendants violated various constitutional amendments,

  the ADA, and unidentified criminal statutes, without regard to the court’s careful

  explanation of the deficiencies in these allegations in the September 24, 2018


                                             6
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 7 of 22             PageID #: 84




  Order Dismissing Complaint With Leave to Amend (September 24 Order). ECF

  No. 4. The court has struggled to understand the FAC’s statement of facts, with

  and without reference to Slavick’s original Complaint, to ignore Slavick’s opinions

  and legal conclusions, and to discern sufficient facts to support his claims, and has

  been left, for the most part, to guess.

        Because the FAC fails to give Defendants or the court a fair understanding

  of Slavick’s claims, the court is unable to “infer more than the mere possibility of

  misconduct,” by any Defendant. Iqbal, 556 U.S. at 679. The FAC is DISMISSED

  for failure to state a claim with limited leave to amend, as set forth below.

  B.    Fifth Amendment

        Slavick again alleges that Defendants violated the Fifth Amendment, see

  Counts III, V, VII, despite the court’s clear instructions that the Fifth Amendment

  applies “only to actions of the federal government – not to those of state or local

  governments.” Lee v. City of Los Angeles, 250 F.3d 668, 687 (9th Cir. 2001)

  (citing Schweiker v. Wilson, 450 U.S. 221, 227 (1981) ). Slavick cannot state a

  claim against Defendants under the Fifth Amendment, and these claims are

  DISMISSED with prejudice.




                                             7
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 8 of 22              PageID #: 85




  C.    ADA

        In Counts IV and VII, Slavick alleges that Defendants violated his rights

  under the ADA. As the September 24 Order explained, to state a claim under Title

  II of the ADA, a plaintiff must allege that:

        (1) he is an individual with a disability; (2) he is otherwise qualified to
        participate in or receive the benefit of some public entity’s services,
        programs, or activities; (3) he was either excluded from participation
        in or denied the benefits of the public entity’s services, programs, or
        activities, or was otherwise discriminated against by the public entity;
        and (4) such exclusion, denial of benefits, or discrimination was by
        reason of [his] disability.

  Simmons, 609 F.3d at 1021 (quoting McGary v. City of Portland, 386 F.3d 1259,

  1265 (9th Cir. 2004)).

        Slavick again fails to allege any facts showing that he was excluded from a

  prison benefit, service, program, or activity, or was discriminated against on the

  basis of his wholly unexplained disability. Having been afforded a previous

  opportunity to amend, and having ignored the court’s guidance on how to do so,

  Slavick’s claims under the ADA are now DISMISSED without leave to amend.

  D.    Criminal Statutes

        In Counts V and VI, Slavick alleges that Defendants violated unspecified

  federal criminal statutes prohibiting conspiracy, harassment, terroristic threatening,

  attempted assault, and attempted sexual assault. As Slavick was informed,


                                            8
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 9 of 22              PageID #: 86




  individuals rarely have a private cause of action to prosecute criminal statutes.

  See, e.g., Aldabe v. Aldabe, 616 F.2d 1089, 1092 (9th Cir. 1980) (18 U.S.C. §§ 241

  and 242 provide no private right of action and cannot form basis for civil suit);

  Chrysler Corp. v. Brown, 441 U.S. 281, 316 (1979) (finding a private right of

  action under a criminal statute is rarely implied). Rather, whether to bring charges

  and prosecute criminal statutes is left to the discretion of a prosecutor. United

  States v. Batchelder, 442 U.S. 114, 124 (1979); see also Inmates of Attica

  Correctional Facility v. Rockefeller, 477 F.2d 375 (2d Cir. 1973).

        Slavick again fails to state a claim regarding Defendants’ alleged violations

  of unidentified federal criminal statutes, and these claims are DISMISSED with

  prejudice.

  E.    First Amendment

        Although Slavick does not explicitly allege a violation of the First

  Amendment, he alleges Defendants retaliated against him and suggests they

  interfered with his access to the court in CAAP XX-XXXXXXX, suggesting First

  Amendment claims.

        1.     Right of Access to the Court

        To state a denial of access to the courts, a plaintiff must show that he

  suffered an “actual injury,” i.e., prejudice with respect to contemplated or existing


                                            9
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 10 of 22                        PageID #: 87




  litigation, such as the inability to meet a filing deadline or to present a

  non-frivolous claim. Lewis v. Casey, 518 U.S. 343, 348-349 (1996). An “actual

  injury” is one that hinders the plaintiff’s ability to pursue a legal claim. Id. at 351.

  Actual injury can be shown by prison officials’ denial of required assistance or

  active interference with litigation. Silva v. Di Vittorio, 658 F.3d 1090, 1102 (9th

  Cir. 2011), overruled on other grounds by Coleman v. Tollefson, — U.S. —, 135

  S. Ct. 1759 (2015).6

         Although Slavick alleges that he had limited access to his legal paperwork

  while he was in solitary confinement, it was returned to him in disarray, and he

  was not notified that his attorney made an appointment to see him and then failed

  to show up, he again fails to explain what actual injury this caused him. As noted

  in the September 24 Order, the public record in CAAP-XX-XXXXXXX shows that

  Slavick was able to file numerous documents in that case, even while he was in

  solitary confinement, including a timely opening brief on June 25, 2018. Since

  then, Slavick has filed six letters, five motions, and a Reply brief, and the action is

  currently pending. See eCourt Kokua, http://www.courts.state.hi.us/.




         6
           In the original Complaint, Slavick alleged Defendants interfered in three cases: (1) State
  v. Slavick, CR 13-1-1461 (Haw. 1st Cir. 2013); (2) a federal habeas petition, and (3) Slavick v.
  State, No. CAAP XX-XXXXXXX (Haw. App. 2017). See Compl., ECF No. 1, PageID #9-12.

                                                  10
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 11 of 22                        PageID #: 88




         Slavick again fails to allege sufficient, plausible facts to identify any actual

  injury to CAAP-XX-XXXXXXX, or any other past, active, or contemplated litigation.

  To the extent Slavick attempts to maintain a First Amendment denial of access to

  the court claim, it is DISMISSED with prejudice.

         2.      Retaliation

          In Count VII, Slavick vaguely alleges “Retaliation.” FAC, ECF No. 7,

  PageID #73. “Within the prison context, a viable claim of First Amendment

  retaliation entails five basic elements: (1) An assertion that a state actor took some

  adverse action against an inmate (2) because of (3) that prisoner’s protected

  conduct, and that such action (4) chilled the inmate’s exercise of his First

  Amendment rights, and (5) the action did not reasonably advance a legitimate

  correctional goal.” Rhodes v. Robinson, 408 F.3d 559, 567-68 (9th Cir. 2005)

  (footnote omitted).7 Speculation that defendants acted out of retaliation is not

  sufficient. Wood v. Yordy, 753 F.3d 899, 904 (9th Cir. 2014) (citing cases).

         Slavick apparently alleges that Defendants moved him to the High SHU on

  June 9, 2018, in retaliation for his refusal to attend the disciplinary hearing or to be

  handcuffed the day before. It is unlikely that refusing to attend a prison

         7
           See also Hines v. Gomez, 108 F.3d 265, 267-68 (9th Cir. 1997) (for retaliation, prisoner
  must allege that the type of activity in which he was engaged was constitutionally protected, that
  the protected conduct was a substantial or motivating factor for the alleged retaliatory action, and
  that the retaliatory action advanced no legitimate penological interest. )

                                                  11
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 12 of 22               PageID #: 89




  disciplinary hearing is protected conduct. Slavick’s own allegations, however,

  show that he refused to leave his cell and defied a direct order to be handcuffed.

  These statements contradict a finding that Defendants retaliated against him for

  any protected conduct, chilled the exercise of his First Amendment rights, or that

  some other unidentified protected conduct was “the ‘substantial’ or ‘motivating’

  factor” behind his transfer to the High SHU, or that this transfer did not advance a

  legitimate, penological interest. Brodheim v. Cry, 584 F.3d 1262, 1269, 1271 (9th

  Cir. 2009). Slavick again fails to state a plausible retaliation claim, and this claim

  is DISMISSED with prejudice.

  F.    Eighth Amendment

        The Eighth Amendment protects prisoners from inhumane methods of

  punishment and inhumane conditions of confinement. Morgan v. Morgensen, 465

  F.3d 1041, 1045 (9th Cir. 2005). Prison officials must provide prisoners with

  medical care and take reasonable measures to guarantee their safety. Farmer v.

  Brennan, 511 U.S. 825, 832-33 (1994) (internal citations and quotations omitted).

  A prison official violates the Eighth Amendment when two requirements are met:

  (1) the deprivation alleged is, objectively, sufficiently serious, and (2) the official

  is, subjectively, deliberately indifferent to the inmate’s health or safety. See id.,

  511 U.S. at 834.


                                             12
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 13 of 22             PageID #: 90




        1.     Threats and Verbal Harassment

        Allegations of threats and verbal harassment standing alone fail to state a

  colorable constitutional claim under § 1983 and do not violate the Eighth

  Amendment. See Freeman v. Arpaio, 125 F.3d 732, 738 (9th Cir.1997), abrogated

  in part on other grounds by Shakur v. Schriro, 514 F.3d 878, 884-85 (9th Cir.

  2008); Oltarzewski v. Ruggiero, 830 F.2d 136, 139 (9th Cir. 1987) (holding that

  prison guard’s use of “vulgar language” toward a prisoner did not violate the

  Constitution); see e.g., Austin v. Terhune, 367 F.3d 1167, 1171-72 (dismissing

  allegations of “mere verbal sexual harassment” under the Eighth Amendment);

  Blueford v. Prunty, 108 F.3d 251, 254-55 (9th Cir. 1997) (granting qualified

  immunity to guard who engaged in “vulgar same-sex trash talk” with inmates).

        Slavick’s claims that Colotario, Lopez, Murray, Lorico, Limahai, Souza,

  Aguon, or others swore at and threatened him fail to state a claim and are

  DISMISSED with prejudice.

  \\\

  \\\




                                           13
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 14 of 22              PageID #: 91




        2.     Medical Care

        Deliberate indifference to a prisoner’s serious medical needs violates the

  Eighth Amendment. Estelle v. Gamble, 429 U.S. 97, 104 (1976); McGuckin v.

  Smith, 974 F.2d 1050, 1059 (9th Cir. 1992), overruled in part on other grounds by

  WMX Technologies, Inc. v. Miller, 104 F.3d 1133, 1136 (9th Cir. 1997) (en banc).

  A “serious” medical need exists if the failure to treat a prisoner’s condition could

  result in further significant injury or the “unnecessary and wanton infliction of

  pain.” McGuckin, 974 F.2d at 1059 (citing Estelle, 429 U.S. at 104). A prison

  official is deliberately indifferent if he knows that a prisoner faces a substantial risk

  of serious harm and disregards that risk by failing to take reasonable steps to abate

  it. Farmer, 511 U.S. at 837.

        Slavick alleges that Colotario, Lopez, and Murray took or threatened to take

  his unidentified “injury supports.” FAC, ECF No. 7, PageID #67. Presumably,

  Slavick is referring to a cane that he mentions throughout the pleading. He says

  this caused him severe pain. Slavick fails to provide sufficient context to this

  claim to infer that any Defendant acted with deliberate indifference. He does not

  say when this happened, why his cane or other medical support appliance was

  taken, how long this alleged deprivation lasted, whether the confiscation was

  medically authorized, or whether he suffered further injury from this alleged


                                             14
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 15 of 22            PageID #: 92




  deprivation. Reading his claims in the FAC, together with reference to his

  allegations in the original Complaint, it appears his cane was only taken during

  transportation to and from court, and perhaps, during movements within HCF.

  Slavick also fails to explain how Colotario and Lopez, who are allegedly employed

  at HCF, colluded with Murray, who is allegedly employed at OCCC, to deprive

  him of his cane or falsely charge him with misconduct.

        Slavick again fails to allege sufficient facts to show that Colotario, Lopez,

  Murray or any other Defendant objectively deprived him of the minimal civilized

  necessities of life when they temporarily confiscated his cane, if this is what he

  alleges, or in any other manner subjected him to cruel and unusual punishment.

  Lopez v. Smith, 203 F.3d 1122, 1132-33 (9th Cir. 2000). Having been afforded a

  previous opportunity to amend, and having ignored the court’s guidance on how to

  do so, Slavick’s claims as alleged under the Eighth Amendment fail to state a

  colorable claim and are now DISMISSED without leave to amend.

  G.    Fourteenth Amendment

        Slavick alleges that Defendants violated his Fourteenth Amendment rights to

  due process regarding his allegedly false disciplinary charges and to equal

  protection of the laws regarding his vague allegations of “racial hate crimes.”

  FAC, ECF No. 7, PageID #67-69, 72.


                                            15
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 16 of 22             PageID #: 93




        1.     Equal Protection

        “To state a claim for violation of the Equal Protection Clause, a plaintiff

  must show that the defendant acted with an intent or purpose to discriminate

  against him based upon his membership in a protected class.” Serrano v. Francis,

  345 F.3d 1071, 1082 (9th Cir. 2003) (citation omitted). Alternatively, a plaintiff

  may state an equal protection claim if he shows that similarly situated individuals

  were intentionally treated differently without a rational relationship to a legitimate

  government purpose. Vill. of Willowbrook v. Olech, 528 U.S. 562, 564 (2000)

  (citations omitted).

        Slavick vaguely alleges “racial hate crimes” in the FAC, but again submits

  no facts suggesting that he was discriminated against as part of a protected class or

  that he was intentionally treated differently than other similarly situated inmates.

  See City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985) (citation

  omitted) (holding Equal Protection Clause requires the State to treat similarly

  situated people equally); Mayner v. Callahan, 873 F.2d 1300, 1302 (9th Cir. 1989)

  (stating that prisoners are not a protected class). Accordingly, having been

  afforded a previous opportunity to amend, and having ignored the court’s guidance

  on how to do so, Slavick’s Equal Protection claims are now DISMISSED without

  leave to amend.


                                            16
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 17 of 22                      PageID #: 94




         2.     Due Process

         Slavick challenges his allegedly “fraudulent charges of ‘obstruction, lying,

  and escape’ from May 10, 2018 and the June 5 ‘refusal’ charge” and seeks to have

  the charges expunged from his institutional file. FAC, ECF No. 7, PageID #75.

         A prisoner is entitled to limited due process protections when he is charged

  with a disciplinary violation.8 See Serrano, 345 F.3d at 1077 (citing Wolff v.

  McDonnell, 418 U.S. 539, 564-571 (1974)). These procedural protections apply

  “only when the disciplinary action implicates a protected liberty interest in some

  ‘unexpected matter’ or imposes an ‘atypical and significant hardship on the inmate

  in relation to the ordinary incidents of prison life.’” Id., 345 F.3d at 1078 (quoting

  Sandin v. Conner, 515 U.S. 472, 484 (1995)); Ramirez v. Galaza, 334 F.3d 850,

  860 (9th Cir. 2003).

         Sandin held that a Hawaii inmate had no liberty interest in freedom from

  disciplinary segregation that lasted thirty days, when the evidence showed that the

  conditions in segregation “with insignificant exceptions, mirrored those conditions

  imposed on inmates in administrative segregation and protective custody,” and the

  segregation did not “inevitably affect” the length of his prison sentence. 515 U.S.


         8
           These protections include the rights to call witnesses, present documentary evidence and
  to receive a written statement of the evidence relied upon and the reasons for the disciplinary
  action. See Wolff, 418 U.S. at 564-65.

                                                 17
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 18 of 22                PageID #: 95




  at 486-87. Since Sandin, “the Courts of Appeals have not reached consistent

  conclusions for identifying the baseline from which to measure what is atypical

  and significant in any particular prison system.” Wilkinson v. Austin, 545 U.S.

  209, 223 (2005). Courts within the Ninth Circuit look to:

        1) whether the challenged condition ‘mirrored those conditions
        imposed upon inmates in administrative segregation and protective
        custody,’ and thus comported with the prison’s discretionary
        authority; 2) the duration of the condition, and the degree of restraint
        imposed; and 3) whether the state’s action will invariably affect the
        duration of the prisoner’s sentence.

  Ramirez, 334 F.3d at 861 (quoting Sandin, 515 U.S. at 486-87); see also Chappell

  v. Mandeville, 706 F.3d 1052, 1064-65 (9th Cir. 2013). Only if the prisoner

  alleges facts sufficient to show a protected liberty interest should courts consider

  “whether the procedures used to deprive that liberty satisfied Due Process.”

  Ramirez, 334 F.3d at 860.

        First, there is no constitutional right to be free from false charges. See

  Garrott v. Glebe, 600 F. App’x. 540, 545 (9th Cir. 2015) (holding there is no

  clearly established federal law that “a prisoner has a right to be free from false

  accusations”); Contreras v. Herrera, 2018 WL 4961510, at *4 (S.D. Cal. Oct. 15,

  2018) (same); Smith v. Albee, 2016 WL 6094471, at *4 (E.D. Cal. Oct. 18, 2016)

  (stating, “falsification of disciplinary reports does not state a stand-alone

  constitutional claim,” because “[t]here is no constitutionally guaranteed immunity

                                             18
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 19 of 22            PageID #: 96




  from being falsely or wrongly accused of conduct which may result in the

  deprivation of a protected liberty interest”); Solomon v. Meyer, 2014 WL 294576,

  at *2 (N.D. Cal. 2014) (same). While the “Constitution demands due process,” it

  does not require “error-free decision-making.” Chavira v. Rankin, 2012 WL

  5914913, at *1 (N.D. Cal. 2012); see also Johnson v. Felker, 2013 WL 6243280, at

  *6 (E.D. Cal. 2013) (“Prisoners have no constitutionally guaranteed right to be free

  from false accusations of misconduct, so the mere falsification of a [rules violation]

  report does not give rise to a claim under section 1983.”) (citing Sprouse v.

  Babcock, 870 F.2d 450, 452 (8th Cir. 1989) and Freeman v. Rideout, 808 F.2d 949,

  951-53 (2d Cir. 1986)).

        Second, if Slavick challenges disciplinary proceedings relating to these

  allegedly false charges, that resulted in his temporary placement in solitary

  confinement between May 10 and July 8, 2018, he again fails to allege any facts

  showing that he suffered atypical and significant hardship in relation to the

  conditions in administrative or protective custody. Nor does he allege that his

  detention in solitary confinement will inevitably affect the term of his sentence. In

  short, Slavick’s conclusory “due process” claims do not even state the

  “threadbare” elements of a due process claim from which the court can plausibly

  find that Defendants violated his right to due process. See Iqbal, 556 U.S. at 678.


                                           19
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 20 of 22                 PageID #: 97




         Slavick’s Fourteenth Amendment due process and equal protection claims

  are DISMISSED for his failure to state a claim. Because Slavick has been given

  two opportunities and clear instructions on what is needed to state these claims,

  and has failed to do so, they are dismissed with prejudice.

  H.     Official Capacity Claims

         “Section 1983 provides a federal forum to remedy many deprivations of

  civil liberties, but it does not provide a federal forum for litigants who seek a

  remedy against a State for alleged deprivations of civil liberties. The Eleventh

  Amendment bars such suits unless the State has waived its immunity.” Will v.

  Mich. Dept. of State Police, 491 U.S. 58, 66 (1989). There are three exceptions to

  this general rule: (1) the State may waive its Eleventh Amendment defense; (2)

  “Congress may abrogate States’ sovereign immunity by acting pursuant to a grant

  of constitutional authority”; and (3) a suit seeking prospective injunctive relief may

  proceed. Douglas v. Calif. Dept. of Youth Auth., 271 F.3d 812, 817 (9th Cir. 2001)

  (citations omitted); Aholelei v. Dep’t of Pub. Safety, 488 F.3d 1144, 1147 (9th Cir.

  2007) (“The Eleventh Amendment bars suits for money damages in federal court

  against a state, its agencies, and state officials acting in their official capacities.”).

  Thus, Defendants named in their official capacities are generally subject to suit

  under § 1983 only “for prospective declaratory and injunctive relief . . . to enjoin


                                              20
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 21 of 22                      PageID #: 98




  an alleged ongoing violation of federal law.” Oyama v. Univ. of Haw., 2013 WL

  1767710, at *7 (D. Haw. Apr. 23, 2013) (quoting Wilbur v. Locke, 423 F.3d 1101,

  1111 (9th Cir. 2005), abrogated on other grounds by Levin v. Commerce Energy

  Inc., 560 U.S. 413 (2010)).

         The State has not waived its immunity from suit under § 1983, nor has

  Congress abrogated it. Slavick does not allege an ongoing constitutional violation

  that can be remedied by prospective injunctive relief. Damages claims against all

  Defendants named in their official capacities are DISMISSED with prejudice.

                                     IV. CONCLUSION

         (1) The First Amended Complaint is DISMISSED with prejudice pursuant

  to 28 U.S.C. §§ 1915(e)(2) and 1915A(b)(1) for failure to state a colorable claim

  for relief.

         (2) This dismissal counts as a “strike” under 28 U.S.C. § 1915(g).9




         9
         Under § 1915(g), a prisoner may not bring a civil action or appeal a civil judgment in
  forma pauperis if he has,

         on 3 or more prior occasions, while incarcerated or detained in any facility,
         brought an action or appeal in a court of the United States that was dismissed on
         the grounds that it is frivolous, malicious, or fails to state a claim upon which
         relief may be granted, unless the prisoner is under imminent danger of serious
         physical injury.

                                                 21
Case 1:18-cv-00290-DKW-KJM Document 9 Filed 12/10/18 Page 22 of 22                              PageID #: 99




           (3) The Clerk is directed to close this case.

           IT IS SO ORDERED.

           DATED: December 10, 2018 at Honolulu, Hawaii.




                                                         /s/ Derrick K. Watson
                                                         Derrick K. Watson
                                                         United States District Judge




  Chris Slavick v. Shawn Colotario, et al.; Civil No. 18-00290 DKW-KJM; ORDER
  DISMISSING FIRST AMENDED COMPLAINT WITHOUT LEAVE TO
  AMEND
  Slavick v. Colotario, et al., No. 1:18-cv-00290 DKW-KJM; Scrng ‘18 Slavick 18-290 (dsm FAC)




                                                            22
